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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                 DELTA DIVISION


JOSEPH FLOYD                                                                       PLAINTIFF

v.                             Case No. 2:20-cv-00051-JTK

ANDREW SAUL, Commissioner,
Social Security Administration                                                   DEFENDANT

                                            ORDER

       Before the Court is Defendant’s Unopposed Motion to Reverse and Remand this case to

the Commissioner for further administrative proceedings. Doc. 23. Upon examination of the merits

of this case, this Court grants the Motion and reverses and remands this case to the Commissioner

pursuant to sentence four of section 205(g) of the Social Security Act, 42 U.S.C.§405(g).

       SO ORDERED THIS 8th day of December, 2020.


                                                    ____________________________________
                                                    JEROME T. KEARNEY
                                                    UNITED STATES MAGISTRATE JUDGE
